          Case 4:09-cr-00322-JLH Document 121 Filed 07/18/13 Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

UNITED STATES OF AMERICA                                                                 PLAINTIFF

v.                                   NO. 4:09CR00322-04 JLH

SAMUEL RAY BLACK, JR.                                                                  DEFENDANT

                                              ORDER

       Samuel Ray Black, Jr., has filed a motion for early termination of probation. The Court

directs the United States to file a response within fourteen days from the entry of this Order, stating

whether the United States opposes the motion.

       IT IS SO ORDERED this 18th day of July, 2013.



                                                       _________________________________
                                                       J. LEON HOLMES
                                                       UNITED STATES DISTRICT JUDGE
